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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



                         AMIN WASHINGTON,
                                                                           COMPLAINT FOR DAMAGES
                                                Plaintiff,
                                                                           Case No. 7:22-cv-_______________
                         v.

                         INTERSTATE FIRE & SAFETY EQUIPMENT                     JURY TRIAL REQUESTED
                         COMPANY, INC., and
                         WILLIAM M. BARNES, JR., an individual,

                                                Defendants.


                                                                  INTRODUCTION

                              1. Plaintiff Amin Washington worked as a service technician for Defendants’ fire safety

                                 company for over twenty years. During this time, Plaintiff should have been paid prevailing

                                 wages for his work on various government projects, some of which at overtime rates.

                                 Specifically, Plaintiff should have been paid at an hourly rate of around $100. Instead, he

                                 was paid at a rate of $16.75 per hour. Defendants acknowledged this and paid Plaintiff a

                                 couple of years’ worth of backpay. However, they did not include anything extra such as

                                 liquidated damages for that period, and Plaintiff completed a significant amount of

                                 prevailing wage work prior to that period for which hee was never properly compensated.

                              2. After he complained about the Defendants’ failure to pay him for all of the prevailing wage

                                 backpay owed, the Defendants accused him of failing to train customers (which was not

                                 part of his job and never had been) and, after more than 20 years of work, let him go.

                              3. To challenge these and other wage violations, Plaintiff brings this action, by and through

                                 his attorneys, against Defendants Interstate Fire & Safety Equipment Company, Inc., and


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                                William M. Barnes, Jr., an individual, to recover unpaid or underpaid wages and other

                                damages under the provisions of the Fair Labor Standards Act of 1938, as amended, 29

                                U.S.C. § 201, et seq. (hereinafter “FLSA”) and the New York Labor Law (hereinafter,

                                “NYLL”). He also brings associated state law claims of third party beneficiary claims,

                                unjust enrichment, and conversion.

                            4. Plaintiff also alleges that Defendant violated the anti-retaliation provisions of the FLSA

                                and NYLL by terminating him in response to his complaints regarding the employer’s wage

                                underpayments.

                                                         JURISDICTION AND VENUE

                            5. This Court has jurisdiction over the subject matter of the action pursuant to 28 U.S.C. §

                                1331, by virtue of federal questions, 29 U.S.C. § 201 et seq. of the FLSA.

                            6. This Court has supplemental jurisdiction over Plaintiff’s state law claims by authority of

                                28 U.S.C. § 1367.

                            7. Venue lies with this Court pursuant to 28 U.S.C. § 1391(b) and 29 U.S.C. § 201 et seq. A

                                significant portion of the events giving rise to the instant litigation occurred at the

                                Defendants’ business located at 75 Calvert St. in Harrison, New York, and one or more of

                                the Defendants named herein resides in this district.




                                                                     PARTIES

                         Defendant Interstate Fire & Safety Equipment Company, Inc.

                            8. Defendant Interstate Fire & Safety Equipment Company, Inc. is a New York

                                corporation doing business within Westchester County, whose principal place of business


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                                is located at 75 Calvert St. in Harrison, NY. Its DOS Process agent is listed with the NYS

                                Department of State as William M. Barnes Jr. with an address of 464 North Main St.

                                Portchester, NY 10573.

                            9. Defendant Interstate Fire & Safety Equipment Company, Inc. operates a fire safety

                                business located at 75 Calvert St. in Harrison, NY.

                            10. At all relevant times, Defendant Interstate had annual gross revenues in excess of $500,000.

                            11. At all relevant times, Defendant Interstate was engaged in interstate commerce and/or the

                                production of goods for commerce, within the meaning of the FLSA, 29 U.S.C. §§ 206(a)

                                and 207(a).

                            12. At all times material to this action, Defendant Interstate was subject to the FLSA and was

                                an “employer” of the Plaintiff, as defined by § 203(b) of the FLSA.

                            13. At all relevant times, Defendants’ business activities were related and performed through

                                unified operations or common control for a common business purpose and constituted an

                                “enterprise” within the meaning of the FLSA, 29 USC 203(r).

                         Defendant William M. Barnes, Jr.

                            14. Defendant William M. Barnes, Jr., an individual, resides at 464 North Main St. Portchester,

                                NY 10573, Westchester County, upon information and belief.

                            15. At all times material to this action, Defendant Barnes actively participated in the business

                                of the corporation.

                            16. At all times material to this action, Defendant Barnes exercised substantial control over the

                                functions of the company’s employees including Plaintiff. He hired Plaintiff, fired him, set

                                his rates of pay, and directed his work activities.




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                            17. At all times material to this action, Defendant Barnes was an “employer” of the Plaintiff,

                                as defined by § 203(b) of the FLSA.

                            18. Defendant Barnes has an ownership interest in and/or is a shareholder of Interstate Fire .

                            19. Defendant Barnes is one of the ten largest shareholders of Interstate Fire.

                         Plaintiff Amin Washington

                            20. Plaintiff Amin Washington is a resident of Cortlandt, New York, which is in Westchester

                                County.

                            21. At all times material to this action, Plaintiff Washington was an “employee” within the

                                meaning of 29 U.S.C. § 203(e).

                            22. As a service technician, Plaintiff’s duties and responsibilities consist of installing and

                                maintaining industrial fire suppression systems.

                            23. Plaintiff’s primary supervisor is Defendant Barnes.

                            24. Plaintiff Amin Washington worked for Defendant Interstate as a service technician from

                                about September 1, 2001 to March 28, 2022.

                            25. While working in this capacity, Plaintiff Washington was expected to record time worked

                                by logging his time on a sheet at the job sites. These records are or should be in the custody

                                or control of the Defendants and/or other entities.

                            26. Thought it varied, Washington estimates that generally he worked approximately 40-45

                                hours per week. He typically started work at 8:00 A.M. and stopped work at 4:30 P.M.,

                                five days per week, but sometimes he would start earlier, stay later, and/or work on the

                                weekend.

                            27. While in this position, Plaintiff Washington’s pay scheme was on an hourly basis.

                            28. Toward the end of his employment, Plaintiff Washington’s rate of pay was $16.75 per hour.


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                            29. Prior to 2022 when he received some amount as back pay, Plaintiff had never been paid

                                for prevailing wage work at a prevailing wage rates.

                            30. Defendants also did not pay Plaintiff Washington at a rate of one and one half times his

                                correct hourly rate for all hours over forty worked in the workweek.

                                                                 LEGAL CLAIMS

                                                  As And For A First Cause of Action:
                                             FAIR LABOR STANDARDS ACT (FLSA) VIOLATIONS

                            31. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                         Failure To Pay Time Overtime Properly

                            32. Defendants failed to compensate Plaintiff at a rate of one and one half times his correct

                                normal hourly rate(s) for all hours over 40 worked in a workweek, in violation of the FLSA.

                         Willful & Not Based On Good Faith & Entitlement to Damages

                            33. Defendants had no good faith basis for believing that their pay practices as alleged above

                                were in compliance with the law.

                            34. The foregoing conduct constitutes a “willful” violation of the FLSA, 29 U.S.C. § 255(a).

                            35. As a result of the violations by Defendant of the FLSA, the Plaintiff is entitled to all

                                damages available under the FLSA which include, but are not limited to, all unpaid wages,

                                overtime, liquidated damages, attorney fees, costs, and interest, as set forth in the FLSA,

                                more specifically 29 U.S.C. § 216(b).

                                                  As And For A Second Cause of Action:
                                                          FLSA – RETALIATION

                            36. Plaintiff realleges and incorporates by reference each allegation contained in the


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                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            37. Toward the end of his employment, it came to the Plaintiff’s attention, via a third party,

                            38. that he should have been receiving prevailing wages for labor that he has completed in

                                various government worksites on behalf of Defendants. The company acknowledged this

                                and began paying Mr. Washington back for a couple years' worth of backpay (albeit

                                nothing for liquidated damages).

                            39. However, Plaintiff had done prevailing wage work prior to the period for which he received

                                some backpay, and complained about the underpayment to Defendant Barnes.

                            40. At least some of the work Plaintiff did for which he was underpaid was overtime work.

                            41. Shortly thereafter, Defendant Barnes accused the Plaintiff of having failed to train

                                customers as to the proper use of certain fire alarm equipment.

                            42. Plaintiff is a technician whose job for Defendants was to install equipment. Plaintiff is not

                                trained to, or certified to, instruct others as to the use of the fire alarm equipment, nor had

                                he ever been required to provide training to others. In fact, he was concerned that if he did

                                provide training that doing so might subject himself and/or the company to liability in the

                                event the information he had provided were not up to proper standards.

                            43. Plaintiff, through counsel, issued a “demand letter” regarding the wage underpayments on

                                or about January 7, 2022.

                            44. Defendants terminated Plaintiff’s employment on or about March 25, 2022.

                            45. Defendants cited as their reason for the separation his alleged failure and/or refusal to

                                conduct the training, but this was a “cover story” for terminating him in retaliation for his

                                insistence on being paid the wages he was lawfully owed.


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                            46. By complaining about the propriety of these pay practices to Defendants, Plaintiff engaged

                                in activity protected under the FLSA.

                            47. Plaintiff’s termination from employment was an adverse employment action.

                            48. Plaintiff’s termination from employment was causally connected to his inquiries regarding

                                the alleged wage underpayments.

                            49. Defendant violated the provisions of Section 15(a)(3) of the FLSA (29 U.S.C. § 215(a)(3)),

                                by discriminating against Plaintiff for exercising rights protected under the Act.

                            50. As a result of these violations by Defendant of the FLSA, the Plaintiff is entitled to damages

                                as set forth in the FLSA, more specifically 29 U.S.C. § 215(a)(3), in an amount to be

                                determined at trial.

                                                 As And For A Third Cause of Action:
                                            PREVAILING WAGE (THIRD PARTY BENEFICIARY) CLAIMS

                            51. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            52. Defendants have entered into various contracts agreeing to serve as contractors or

                                subcontractors for contractors having public works contracts public entities, such as

                                schools.

                            53. Federal, state and/or city funds pay for these public works contracts.

                            54. Plaintiff performed the work on behalf of Defendants.

                            55. Without the labors of Plaintiff, Defendants would not have been able to fulfill their

                                contractual obligations.

                            56. Plaintiff was third party beneficiaries of the contracts.

                            57. Plaintiff was entitled to receive prevailing wages for his.

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                            58. Defendants failed to pay Plaintiff the proper prevailing wages for the work he performed

                                under these contracts.

                                                As And For A Fourth Cause of Action:
                                              NEW YORK LABOR LAW (NYLL) VIOLATIONS

                            59. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            60. At all relevant times, Plaintiff was employed by Defendants within the meaning of the New

                                York Labor Law, §§ 2 and 651.

                         Failure To Pay Owed Wages

                            61. Defendants paid Plaintiff at a rate less than the proper prevailing wage rate.

                            62. In so doing, Defendants made deductions from the wages of Plaintiff other than those

                                authorized under NYLL § 193. See also 12 N.Y. Comp. Codes R. & Regs. 142-2.10

                         Failure To Pay Overtime

                            63. Defendants failed to compensate Plaintiff at a rate of one and one half times any, much less

                                the proper, “regular rate” for hours over 40 in a workweek, in contravention of N.Y. Comp.

                                Codes R. & Regs. tit. 12, § 142-2.2.

                         Failure To Pay Wages At Prescribed Frequency

                            64. The timing and frequency of Plaintiff’s pay was improper.

                            65. Plaintiff was a “manual worker” as that term is defined in NYLL § 190(4).

                            66. Plaintiff was not consistently paid for his full amount owed at regular weekly intervals, nor

                                was there any agreement in place as contemplated by NYLL § 191(1)(a)(ii).

                            67. Because the employer failed to pay full wages and/or overtime on the regular payment date,

                                Plaintiff is entitled to liquidated damages. See United States v. Klinghoffer Bros. Realty

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                                Corp., 285 F.2d 487, 491 (2nd Cir. 1960).

                         Failure to Provide Wage Notices

                            68. Defendant failed to furnish Plaintiff with a “wage notice” containing the rate or rates of

                                pay and basis thereof, whether paid by the hour, shift, day, week, salary, piece,

                                commission, or other; allowances, if any, claimed as part of the minimum wage, including

                                tip, meal, or lodging allowances; the regular pay day designated by the employer; the

                                name of the employer; any "doing business as" names used by the employer; the

                                physical address of the employer's main office or principal place of business, and a

                                mailing address if different; and the telephone number of the employer, in contravention

                                of NYLL § 195(1)(a) and § 198(1)(b)

                         Damages

                            69. Due to Defendant’s New York Labor Code violations, Plaintiff is entitled to recover his

                                unpaid wages, overtime, liquidated damages, interest, statutory damages, reasonable

                                attorneys’ fees, and costs associated with bringing the action. NY Lab. Code § 663(1).



                                                     As And For A Fifth Cause of Action:
                                                                  CONVERSION

                            70. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            71. Plaintiff, as a third party beneficiary of prevailing wage contracts, had a lawful right to be

                                paid at prevailing wage rates for his work.

                            72. Defendants intentionally failed to pay Plaintiff at or above the prevailing wage rates

                                applicable to him.

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                            73. By their deliberate underpayment Defendants committed theft of the balance of Plaintiff’s

                                owed wages.

                            74. For the civil aspect of this theft, Plaintiff is entitled to receive conversion damages in an

                                amount to be determined at trial.

                                                      As And For A Sixth Cause of Action:
                                                             UNJUST ENRICHMENT

                            75. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            76. Defendants entered into lucrative contracts with the government that contained

                                requirements to pay workers at prevailing wage rates.

                            77. By retaining the full contractual amounts and not paying the workers the full extent of the

                                prevailing wages that they should have Defendants were unjustly enriched.




                                                     As And For A Seventh Cause of Action:
                                                             NYLL RETALIATION

                            78. Plaintiff realleges and incorporates by reference each allegation contained in the

                                paragraphs above, and by reference repleads and incorporates them as though fully set forth

                                here.

                            79. By complaining hiw wage underpayments to Defendant Barnes, Plaintiff engaged in an

                                activity protected under NYLL § 215(2).

                            80. Defendants violated the provisions of NYLL § 215 by retaliating against Plaintiff for

                                exercising protected rights.


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                            81. As a result of these violations the Plaintiff is entitled to damages as set forth in the NYLL,

                                more specifically NYLL § 215(2), in an amount to be determined at trial.


                                                               PRAYER FOR RELIEF

                            WHEREFORE, Plaintiff respectfully requests that this Court grant the following relief:

                                (A)     Award Plaintiff unpaid and underpaid wages due under the FLSA and the New

                                        York Labor Law;

                                (B)     Award Plaintiff liquidated damages in the amount of his unpaid FLSA wages

                                        pursuant to 29 U.S.C. § 216(b);

                                (C)     Award Plaintiff liquidated damages pursuant to NYLL § 663;

                                (D)     Award Plaintiff third party beneficiary, conversion, and/or unjust enrichment

                                        damages;

                                (E)     Award Plaintiff appropriate damages for the retaliatory acts taken against through

                                        him, including back pay, front pay in lieu of reinstatement, emotional distress, other

                                        appropriate actual, general, or compensatory damages, and punitive damages, in an

                                        amount to be determined at trial;

                                (F)     Award Plaintiff interest;

                                (G)     Award Plaintiff the costs of this action together with reasonable attorneys' fees; and

                                (H)     Award such other and further relief as this Court deems necessary and proper.



                                                          DEMAND FOR TRIAL BY JURY

                                Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands a trial

                         by jury on all questions of fact raised by the complaint.



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                         Respectfully submitted, this 18th day of July, 2022.



                                                                           ANDERSONDODSON, P.C.


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